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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )              CASE NO. 8:07CR369
                                           )
             Plaintiff,                    )
                                           )
             vs.                           )                    ORDER
                                           )
EDGAR MARROQUIN, ROBERTO                   )
JIMINEZ, and JESUS LOPEZ,                  )
                                           )
             Defendants.                   )

      This matter is before the Court on the government’s motion to dismiss (Filing No.

123). Under Federal Rule of Criminal Procedure 48(a), leave of court is granted for the

dismissal of the Indictment without prejudice against the above-named Defendant.

      IT IS ORDERED that the government’s motion to dismiss (Filing No. 123) is granted.

      DATED this 22nd day of August, 2011.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge
